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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


NATIONAL URBAN LEAGUE, et al.,

                         Plaintiffs,

       v.                                                    Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,

                         Defendants.


                                       DECLARATION OF LISA RICE

           I, Lisa Rice, declare as follows pursuant to 28 U.S.C. § 1746:
           1.     I am Lisa Rice, President and Chief Executive Officer of the National Fair Housing

Alliance (“NFHA”), a nonprofit 501(c)(3) organization based in Washington, D.C. I have served

in this capacity since April 1, 2018.

           2.     I am submitting this Declaration in support of Plaintiffs’ Motion for a Preliminary

Injunction to prevent defendant agencies from enforcing Executive Order No. 14151, titled

“Ending Radical and Wasteful Government DEI Programs and Preferencing” (“Anti-Diversity1

Order”), issued January 20, 2025;1 Executive Order No. 14168, titled “Defending Women from

Gender Ideology Extremism and Restoring Biological Truth to the Federal Government” (“Anti-

Gender Order”), issued January 20, 2025;2 and Executive Order No. 14173, titled “Ending Illegal




       1
         Exec. Order No. 14151, Ending Radical and Wasteful Government DEI Programs and
Preferencing, 90 Fed. Reg. 8339 (Jan. 20, 2025).
       2
         Exec. Order No. 14168, Defending Women From Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 20, 2025).


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Discrimination and Restoring Merit-Based Opportunity” (“Anti-Diversity2 Order”), issued

January 21, 2025 (collectively, the “Executive Orders”).3


           3.   NFHA is a national nonprofit, public service, civil rights organization incorporated

under the laws of the Commonwealth of Virginia with its principal place of business in

Washington, D.C. We are a nationwide alliance of more than 200 private, nonprofit, fair housing

organizations and state and local civil rights agencies throughout the U.S. We have over 70

operating member organizations nationwide that support fair housing work in 29 states and the

District of Columbia.

           4.   NFHA is the country’s only national civil rights organization dedicated solely to

eliminating all forms of housing and lending discrimination and ensuring equitable housing

opportunities for all people. Pursuant to our mission to eliminate all housing and lending

discrimination, we advocate against discrimination based on race, national origin, religion, sex

(including sexual orientation and gender identity), disability, and other protected classes covered

by federal, state, and local fair housing laws, including the federal Fair Housing Act.

           5.   Specifically, we work to eliminate housing discrimination and enforce fair housing

and fair lending laws to ensure equitable housing opportunities for all people and communities.

We do this work through our education and outreach, member services, public policy and

advocacy, housing and community development, responsible AI, enforcement, and consulting and

compliance programs.

           6.   Our operating members also conduct activities to advance fair housing for all and

to enforce fair housing and fair lending laws, including engaging in fair housing advocacy,



       3
        Exec. Order No. 14173, Ending Illegal Discrimination and Restoring Merit-Based
Opportunity, 90 Fed. Reg. 8633 (Jan. 21, 2025).


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enforcement, education, and outreach; communicating with local community leaders on fair

housing rights; and conducting training about fair housing rights and responsibilities, the harmful

effects of segregation and other discriminatory practices, and the need to counteract the effects of

these harmful practices.

        7.      One of our core activities is to assist our members in accomplishing these tasks in

various ways, including by providing technical assistance and training. NFHA and our members’

educational activities and trainings educate the public on issues concerning fair housing, fair

lending, racial segregation, the continuing impact of racial segregation on housing and lending in

America, the United States’ history of systemic racism and its continuing effects, explicit and

implicit bias, and racial privilege. We and our members also educate the public on the importance

of increasing diversity, equity, inclusion, and accessibility (“DEIA”), access to fair housing, fair

lending, and neighborhoods with the life affirming amenities necessary for people to live thriving

lives, and the importance of removing barriers for persons impacted by historic and ongoing

discrimination in the housing and lending markets, including people of color (Black, Latino, Asian

American and Pacific Islander, Native and other communities of color), women, LGBTQ people,

people with disabilities, families with children, people of faith, and others.

        8.      NFHA and our members’ educational activities and trainings also advocate for fair

housing and lending for the LGBTQ community, such as by providing advocacy around how the

Fair Housing Act protects people against discrimination based on sex, including sexual orientation

and gender identity. We are committed to exploring ways to build bridges with organizations that

serve the LGBTQ community and exploring steps that fair housing groups and industry partners

can take to make their workplaces more inclusive of people from the LGBTQ community. For

example, our national media campaign in 2021 (which received federal funding) was almost




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entirely about discrimination based on LGBTQ status, and we have continued to devote resources

to promote awareness that the Fair Housing Act and other fair housing laws bar such

discrimination. We helped coordinate a webinar regarding how to investigate anti-LGBTQ

discrimination, and we included speakers at its annual conferences from organizations devoted to

combatting LGBTQ discrimination in housing.


         9.      As part of our core work to achieve fair housing for all, NFHA regularly holds

conferences, symposia, and speaking events each year where speakers from various backgrounds

present on these aforementioned topics.        Attendees include employees of our members,

representatives from the housing, lending, and insurance industries, representatives from federal,

state, and local government agencies, and representatives from civil rights, faith, housing policy,

and consumer protection organizations. On average, we conduct at least two such events every

year, and in recent years we have regularly held more.

         10.     For example, in 2024, NFHA held a conference titled “Housing Equity Now:

Building an Inclusive and Just Future,” where member organizations, fair housing advocates,

policymakers, and subject matter experts from around the country engaged in discussions on a

range of fair housing issues. The conference had panels that highlighted, among other things, the

harmful impacts of the racial wealth gap on people, communities, and the economy; strategies for

addressing the large disparities in rates of homeownership between Black and white families; and

the connection between housing access and principles of diversity, equity, inclusion, and

accessibility.   As an organization focused on preventing housing discrimination, providing

underserved populations with equal access to housing opportunities, and otherwise working for

equity in the housing and lending markets, we appreciate the importance of embedding and

advancing DEIA in everything we do. We also recognize that DEIA efforts are important to ensure



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compliance with civil rights laws and rules. Therefore, within our own organizational plan, we

require regular policies and practices supporting diversity, equity, inclusion, and accessibility

principles as a means of avoiding discrimination, fulfilling our mission, and making our

organization more effective. This includes, but is not limited to, updating our policies based on

DEIA and other principles of fairness and justice, and providing DEIA training for all staff. For

example, all staff received a three-hour training on DEIA at NFHA’s 2022 staff retreat. Before

our 2022 annual conference, we provided training for members and staff on how fair housing

organizations can embrace a culture of DEIA and create workplaces where future generations of

fair housing advocates can thrive and be leaders.


         11.     Within our own organization, we have a mutual interest with our employees in

ensuring DEIA in its workplace such that all employees, regardless of their race, ethnicity, sex,

gender, sexual orientation, or gender identity, feel welcome and valued. In our experience, having

a more diverse and inclusive workplace increases employee satisfaction and productivity, produces

greater innovation and ideas, and helps us better serve its mission, which necessarily involves

attention to inclusivity. We are concerned that the Executive Orders will have a detrimental impact

not only on the communities we serve, but also on our employees of color, female employees,

LGBTQ employees, and others who benefit from our attention to diversity, inclusion, equity, and

accessibility.

         12.     We also hold education and outreach events and trainings with other nonprofit

organizations and housing and lending stakeholders, including fair housing organizations,

academics, think tanks, nonprofit organizations, financial services institutions, governmental

entities, real estate sales organizations, and housing and lending industry trade associations. These

events and trainings address issues that include systemic racism, disparate impact, structural



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inequities, sexism, unconscious bias, algorithmic bias, and intersectionality. These events and

trainings also explain the continuing significance of residential segregation in many communities;

the underlying cause of racial disparities with respect to arrest and conviction rates; the relationship

between segregation and disparate health, housing, credit, criminal justice, and environmental

outcomes; and programs and policies that should be implemented to address continuing racial

inequality as well as discrimination based on other protected classes.

         13.     Every year, NFHA publishes a report on fair housing trends in the U.S. The 2024

report, like past reports, reveals that there remains much work to do to achieve the Fair Housing

Act’s promise of a nation free from housing discrimination and the harmful impacts of residential

segregation. The Fair Housing Trends Report describes the universe of fair housing complaints

received by local private nonprofit fair housing organizations and government agencies by state,

protected class, type of housing or lending transaction, and more. It describes emerging and

longstanding matters in fair housing and covers issues including residential segregation and its

intersection with structural inequality, environmental injustice, criminal injustice, health

disparities, lending redlining and discrimination, algorithmic bias, climate change, and other

matters. The report often deals with issues that impact fair housing, such as implicit bias, systemic

racism, and sexism, and is used by a wide group of stakeholders, including our operating members

and employees. Our data is compiled from local private nonprofit fair housing organizations, the

U.S. Department of Housing and Urban Development (“HUD”), state and local Fair Housing

Assistance Program agencies, and the U.S. Department of Justice (“DOJ”). This data is instructive

in educating the public and policymakers about the fact that housing discrimination continues to

be a serious problem that perpetuates racial and ethnic inequality in communities throughout the

nation and merits considerably more attention and remedies.




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        14.     NFHA also engages in public policy and advocacy around fair housing, the

elimination of discrimination, and the promotion of equitable outcomes in housing and lending.

Our leadership team testifies before Congress several times a year, and our recommendations have

helped, for example, usher in new policies at federal agencies to promote a fairer, more inclusive,

and more productive housing finance system.            We have advocated for more inclusive

representation in the federal government. For example, we helped ensure that highly qualified

candidates of color were considered by the White House to serve on the Federal Reserve Board of

Governors. As a result, the Federal Reserve currently has its most diverse Board of Governors

with the first Black women and first Latina serving as Governors in the Board’s 109-year history.

A major part of our public policy advocacy has been to advocate for explicit protections in the Fair

Housing Act to prohibit discrimination on the basis of sexual orientation, gender identity, and

marital and familial status.

        15.     In addition to educating the public and aligning itself internally with the values

necessary to combat discrimination, NFHA regularly contracts with the federal government to

provide educational services related to supporting private nonprofit local fair housing

organizations. For example, until a recent early termination due to the Executive Orders, we had

an active subcontract funded by the U.S. Department of Housing and Urban Development

(“HUD”). The goal of NFHA’s course is to cultivate strong financial management of Fair Housing

Initiative Program (“FHIP”)4 fair housing partners to ensure timely, thorough, and comprehensive

financial management and reporting amongst other efforts.



4
 HUD’s Fair Housing Initiatives Program (“FHIP”), established by the Housing and Community
Development Act of 1987, 42 U.S.C. § 3616(a), provides funding to fair housing organizations,
known as FHIPs, to carry out education and outreach and enforcement activities to prevent or
eliminate discriminatory housing practices and to inform individuals of their rights and



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        16.     Our initial work order for the subcontract also stated, “The [training] outline will

include a foundation of cultural competency that addresses the diversity, equity, and inclusion

necessary in all fair housing work, and how to recognize and address individual and collective

biases.” The training product as developed, however, is solely about financial management and

does not contain this information. Prior to termination of the subcontract, we were expected to

provide initial enrollment planning and deliver the training in the second financial quarter of 2025.

        17.     Aside from providing public education through various forms of speech, our other

core functions are to investigate and halt violations of fair housing and anti-discrimination laws,

recover compensation for victims of housing discrimination, and prevent future discriminatory

conduct.

       18.     For example, after extensive investigation, NFHA and four of its members filed a

housing discrimination lawsuit against one of the country’s largest residential real estate

developers, National Fair Housing Alliance v. A.G. Spanos Construction Co., in federal district

court in California. That suit, which alleged that units had not been designed and constructed in an

accessible manner, resulted in a settlement that required retrofitting of apartments in eleven states

to make them accessible and created a multi-million-dollar fund to further improve accessibility

for people with disabilities.

        19.     One of our primary annual funding sources for its enforcement work is the federal

government. Approximately one-third of the funding for our enforcement work comes from grants

we have applied for and received from HUD.            From these grant agreements, we received




responsibilities under the Fair Housing Act. Many of NFHA’s members are FHIPs. In addition
to being specifically authorized by Congress, the FHIP program receives dedicated
appropriations every year and has been supported by HUD through administrations of both
parties.


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approximately $2.23 million from HUD in the 2024 Fiscal Year, which accounted for

approximately 15.1% of NFHA’s expenditures that year. We are set to receive approximately

$2.50 million from HUD in the 2025 Fiscal Year, which would account for approximately 14.9%

of NFHA’s Fiscal Year 2025 annual budget.

        20.     NFHA’s fair housing enforcement and education work has included grants from

HUD’s Fair Housing Initiatives Program Private Enforcement Initiative (“FHIP PEI”), HUD’s Fair

Housing Initiatives Program Fair Housing Organizations Initiative Establishing New

Organizations Component (“FHIP ENOC”), HUD’s Fair Housing Initiatives Program Fair

Housing Organizations Initiative Continued Development Component (“FHIP CDC”), and HUD’s

Fair Housing Initiatives Program Education and Outreach Initiative National Media Campaign

(“FHIP NMC”). We have received these grants many times over several decades. We currently

have FHIP ongoing grants as well as pending grant applications. Our members similarly receive

FHIP grants. After the Executive Orders were issued, we reached out to the Office of Management

and Budget (“OMB”) to explain that FHIP funding is explicitly authorized by statute and is

specifically appropriated by Congress, and so should not be affected by the Executive Orders. We

requested confirmation that FHIP funding would not be affected by the Executive Orders, but, thus

far, have not received a response.

        21.     The FHIP PEI provides funding to private, nonprofit fair housing enforcement

organizations, like NFHA, that meet statutory requirements to conduct testing, investigate

violations, and obtain enforcement of the rights granted under the Fair Housing Act or state or

local laws that are substantially equivalent to the rights and remedies provided in the Fair Housing

Act. We have received multiple FHIP PEI grants dating back to 1991 and are a current recipient

of a FHIP PEI grant. We also have a FHIP ENOC grant as well as other FHIP grants. Pursuant




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to these grants, we engage in enforcement, education and outreach, and a national media campaign

regarding fair housing.

         22.    NFHA has yet to receive or begin negotiating the terms that will govern pending

FHIP grant applications. Based on prior practice, such negotiations for the grant ordinarily would

begin by April 2025. Furthermore, based on prior experience, we know that these negotiations

will be an important component in determining the substance of the terms that will govern the

grant.

         23.    NFHA works to create a society in which everyone can live in a neighborhood

with ample affordable and accessible housing options, fresh air, clean water, good public

transportation, well-resourced schools, internet access, living wage jobs, quality healthcare,

healthy foods, and safe, affordable credit. The work to affirmatively expand opportunity and create

communities where everyone gets to thrive is inextricably intertwined with ending discrimination

in housing based on race, national origin, sex, disability and certain other characteristics, and with

eliminating racial segregation—which the federal government itself has done so much to create

and sustain—and undoing the lasting harms it caused.           Our work, in partnership with the

government and on our own with other community partners, must include considerations of and

discussions regarding the impacts of race, national origin, religion, sex (including sexual

orientation and gender identity), disability, familial status, and other protected classifications on

fair housing.

         24.    As a direct result of the Executive Orders, NFHA and its members have

experienced, and continue to experience, a negative financial impact, a chilling effect on our ability

to carry out core activities to stop discrimination and create well-resourced, thriving communities,

and the need to divert resources to combat these negative effects. We are concerned that the




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Executive Orders create a tension in which we must either continue our work addressing housing

discrimination without references to diversity, equity, inclusion, and accessibility—or any

concepts that the Trump Administration deems to be equivalent—or lose federal funding for all of

its existing and future programs.

           25.   It is particularly difficult for NFHA to comply with these Executive Orders

consistent with fulfilling its mission because the concepts of diversity, equity, inclusion, and

accessibility are inextricably related to ending discrimination based on race, sex, and other

protected classes. Given the inherent conflict between these Executive Orders and the civil rights

laws, we are not able to stop engaging in speech about DEIA or topics related to these broad

concepts, while fully carrying out its work combating housing discrimination. Effective anti-

discrimination advocacy requires discussing the very concepts that the Executive Orders appear to

eliminate from the federal government and the private organizations that it funds. This conflict

has already been made clear in practice.

           26.   For example, on January 22, 2025, NFHA received an email from a unit of HUD

with the subject, “Immediate Action - STOP WORK ORDER” requesting that certain government

contractors “please cease and desist all work activities associated with environmental justice,

diversity, equity, and inclusion (DEI)” while an agency office reviews all contracts with the intent

to “cancel all work plans or assignments pertaining to these topics, consistent with an executive

order.”     Although the e-mail instructed us to stop work on “activities associated with

environmental justice, diversity, equity, and inclusion,” it provided no guidance as to how

NFHA—an organization devoted to civil rights—could tell which of its activities it was supposed

to stop.




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        27.    The email did not state what activity NFHA undertakes, if any, is purportedly

“associated with environmental justice, diversity, equity, and inclusion” such that payment is

barred by the Executive Orders at issue in this case. Nor have we received further guidance

regarding what this vague wording might require in terms of changing future conduct to comply.

        28.    On January 24, 2025, NFHA received a follow-up email from HUD informing it

that, with respect to some HUD funding, any grants with certain terms deemed to have a

“conceptual relationship” to the Executive Orders would receive greater scrutiny. Such terms

included “racial,” “underserved,” “affirmatively,” “systemic,” “adversely,” “accessible,” and

“disparate.” These terms appear in some of the very laws and regulations that NFHA and its

members seek to educate the public about and to enforce, such as the Fair Housing Act and the

Equal Credit Opportunity Act.

        29.    For example, the Fair Housing Act requires public and common use areas of

dwellings to be “readily accessible to and usable by” persons with disabilities, and requires a

dwelling to be “accessible” in numerous other ways. See 42 U.S.C. § 3604(f)(3)(C). The Fair

Housing Act also requires the HUD secretary to “administer the programs and activities relating

to housing and urban development in a manner affirmatively to further the policies” of the Fair

Housing Act. 42 U.S.C. § 3608(e)(5). HUD’s Fair Housing Act regulations—consistent with

prevailing caselaw—provide that a practice “has a discriminatory effect where it actually or

predictably results in a disparate impact.” 24 C.F.R. § 100.500(a) (providing that practice). And

ECOA provides protections for applicants who receive an “adverse action” from creditors. 15

U.S.C. § 1691(d) (providing protections). The list could go on and on.

        30.    Put simply, effective enforcement or discussion of the Fair Housing Act, Equal

Credit Opportunity Act, and other relevant laws is impossible without reference to many of these




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terms. That use of such routine terminology of federal law is causing grants to be subject to

arbitrary scrutiny and recipients of federal grants and contracts to be subject to potential

termination demonstrates that it will be considerably more difficult, and perhaps impossible, for

NFHA and our members to apply for and receive federal funding while carrying out core activities

in furtherance of our missions and the purposes of these federal civil rights statutes. We and our

members will be forced to change the way we discuss these laws, which are central to our missions,

in order to minimize the risk to our federal funding, in a way that makes our work to advance

compliance with civil rights laws untenable.

        31.     NFHA tried to withdraw FHIP funds due under contract with HUD on January 28,

2025, and could not access the payment portal known as the Line of Credit Control Systems. Since

then, we have been able to access this portal and draw down FHIP funds. There has been no

explanation for why the portal was unavailable or what we need to do to maintain access to it. We

were able to draw down the funds the next day, January 29.

        32.     On January 31, 2025, NFHA was informed, with respect to the subcontract

described above, that HUD had caused the subcontract to be terminated. As described above, the

work order for this contract included reference to DEIA concepts but the work product did not.

We were not provided an opportunity to modify the work order or an explanation for why this

decision was made.

        33.     On February 11, 2025, we were informed that part of another contract related to

equity and fairness in housing that had been subcontracted to NFHA had been cancelled. Once

again, NFHA was not provided with any explanation or opportunity to amend the work order.

        34.     Indeed, it appears that the entire FHIP program may be considered contrary to the

Executive Orders. NFHA members have been advised by HUD that it is possible that no FHIP




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payments will be made at all for work done after the DEIA Executive Orders issued, including

work that relates to members’ core business of enforcing fair housing laws. HUD has specifically

advised NFHA members that they should submit separate vouchers for work done through January

19, 2025, although that date is not otherwise a meaningful date for the FHIP payment system.

HUD also has advised NFHA members that it cannot guarantee payment for any work done on or

after January 20. NFHA members thus face a stark choice—shut down most of their operations

now, or perform work for which HUD has made clear they may not be paid. NFHA has had to

divert time to counseling NFHA members regarding their options and devising strategies pursuant

to which NFHA members can continue to carry out their missions.

        35.     Our members have been left uncertain what work will be deemed eligible for

funding, while we are uncertain how to advise them. Like NFHA, members have not been

informed of what activities are purportedly implicated by the Executive Orders or how to remedy

any issues. Many of these members are small nonprofits with very limited resources to survive a

delay in anticipated payments.

        36.     The Executive Orders have frustrated our ability to carry out our core activities,

including fulfilling our obligations to our members and ensuring that our members can robustly

enforce and educate about the Fair Housing Act and other relevant laws throughout the country.

We already have had to divert significant resources to ensure that our members continue to get

paid and are able to continue to perform their important work. We have spent time gathering

information from members regarding their inability to receive contracted-for funds and the

financial impact that is causing on them; advising members as to how to respond with respect to

modifying their normal, core activities or changing the way they characterize those activities; and

taking various actions to ensure that members receive funding to do their work, such as




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communicating with the Office of Management and Budget about the necessity of releasing FHIP

and FHAP grants and educating lawmakers and others about the impact the Executive Orders at

issue in this case are having on the ability of NFHA and members to do their work to stop illegal

discrimination banned by our nation’s fair housing laws. If not for the need to ameliorate the

effects the Executive Orders have had on NFHA and its members, NFHA would have spent this

time on other important activities addressing discrimination, bias, and harassment in all areas of

housing.

        37.     On a local level, without the enforcement functions that organizations, including

NFHA and its members, provide in partnership with the federal government, predatory landlords

and organizations engaged in implicit and explicit bias against underserved communities will be

empowered to continue illegal discrimination.        These harms compound other inequities in

accessing fair housing in the United States. For example, in 2022, a record high 22.4 million renter

households were “cost-burdened,” meaning they spent more than 30% of their income on rent and

utilities. Black and Latino renters were more likely than white renters to be cost-burdened. These

disparities make it more difficult for Black and Latino renters to build wealth and save for down

payments for home ownership. Further, despite important efforts to close racial home ownership

gaps, the white home ownership rate is nearly 67% higher than the Black home ownership rate,

45% higher than the Latino home ownership rate, and 20% higher than the home ownership rate

for the Asian American community. But under these Executive Orders, we may not be able to

marshal these basic facts to advocate for greater racial equity in homeownership.

        38.     The Executive Orders represent another barrier to fair housing for communities

that have long lacked affordable and accessible housing options and have faced rampant

discrimination. It is already apparent that agencies will implement the Executive Orders in ways




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that have harmed and will harm NFHA and our members’ current and next round of grant

agreements, prevent us from carrying out core activities, and impede us from accomplishing our

mission of promoting fair housing. These harms are not just felt by NFHA and our members; they

are felt by the tens of thousands of people we serve each year. These include people facing sexual

harassment by their landlords; families evicted because a family member has become pregnant;

people facing homelessness because landlords will not accept payments via government

assistance; home buyers steered by real estate agents to certain homes and away from others based

on their race; potential homebuyers denied a mortgage because of appraisal bias or redlining;

homeowners losing their insurance because of arbitrary rules about how old an insured home can

be (even when those homes have been upgraded); people with disabilities denied reasonable

accommodations that allow them to safely enjoy their housing. All of these vulnerable people and

more depend on NFHA and its members; it is for precisely that reason that Congress appropriates

money for the FHIP program and grants. If we and our members lose our government funding

because the Administration does not approve of our views on DEIA, we cannot protect these

vulnerable communities from harm.

        39.     The vagueness of the Executive Orders has created an even more untenable

situation; NFHA and its members must determine whether we are able to conduct our fair housing

enforcement programs and public education efforts effectively and without fear of retaliation from

the federal government. We are uncertain about what they must stop doing or saying to avoid

liability and penalties under multiple provisions of the three Executive Orders, particularly in light

of the actions that have already been taken pursuant to those orders. So far, agencies have provided

no guidance regarding how, if it all, we can change our conduct to ameliorate these harms.




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         40.    For example, Anti-Diversity2 Order states that all contracts or grants must include

a “term requiring such counterparty or recipient to certify that it does not operate any programs

promoting DEI that violate any applicable Federal anti-discrimination laws.” It is not clear to us

what “promoting DEI” means in this instance or what activity might be considered to violate

Federal anti-discrimination laws. It is not clear whether our current and pending grants would

have to be modified to include this certification. We are also not sure whether this certification

means that organizations may not “promot[e] DEI” even in our work that is not funded by the

government. As noted above, this confusion is compounded by the fact that some of the words and

phrases defendants have targeted are included in the laws, regulations, and caselaw that we refer

to every day in the course of our core activities.

         41.    Anti-Diversity2 Order also instructs the Director of OMB, with the assistance of

the Attorney General, to “excise references to DEI and DEIA principles, under whatever name

they may appear, from Federal acquisition, contracting, grants, and financial assistance

procedures.” NFHA has no way of knowing what might be deemed to be “references to DEI and

DEIA principles” under other names in our government funded work. What is clear already is that

HUD and other agencies are implementing the Anti-Diversity2 Order by scouring our existing

contracts for anything that could relate, even in a tangential way, to an extremely broad conception

of DEIA, and so it is very likely that we and our members will continue to suffer financial harm

as a result.

         42.    Anti-Diversity1 Order requires the OMB to “terminate, to the maximum extent

allowed by law . . . all ‘equity action plans,’ ‘equity’ actions, initiatives, or programs, ‘equity-

related’ grants or contracts; and all DEI or DEIA performance requirements for employees,

contractors, or grantees.” The term “equity-related grants” is undefined, vague, and concerning.




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The core of our work—promoting fair housing by combatting discrimination in housing based on

race, national origin, sex, disability, and other protected classes—may well be “equity-related”

within the ordinary meaning of those terms. By its plain terms, Anti-Diversity1 Order threatens

to bar enforcement and discussion of the Fair Housing Act and other civil rights laws that make

our country more equitable, fair, and just. If Anti-Diversity1 Order means something else, that

meaning is not clear, and we have no way of ascertaining whether its grants directly fall within the

category of grants that would be terminated.

        43.     The Anti-Gender Order instructs all agencies to “take all necessary steps, as

permitted by law, to end the Federal funding of gender ideology.” The term “gender ideology” is

vague. We cannot tell what grants or work are affected by the Anti-Gender Order or the extent to

which this Executive Order purports to require us to change the way we talk about and enforce

civil rights laws. We have been a strong proponent of combatting efforts throughout the country

to deny housing to people because they are gay, lesbian, bisexual, queer, transgender, unmarried5,

or a recipient of housing subsidies. We have also advocated for the expansion of the Fair Housing

Act to explicitly prohibit discrimination on the basis of sexual orientation, gender identity, marital

status, and source of income. Finally, consistent with the rulings of many courts around the

country and HUD’s guidance, we have taken the position that, following the Supreme Court’s

decision in Bostock v. Clayton Cnty., Georgia, 590 U.S. 644 (2020), the Fair Housing Act bars

housing discrimination based on sexual orientation and gender identity; accordingly, we and our

members have investigated and brought complaints regarding allegations of such discrimination.

We are not clear as to whether any of these actions fall under the definition of “gender ideology,”




5
 The Equal Credit Opportunity Act includes “marital status” as a distinct protected class. 15
U.S.C. 1691(a)(1).


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a term that has no established meaning and is not clearly defined in the Anti-Gender Order.

However, HUD already appears to view the Anti-Gender Order as compelling it not to enforce

existing legal protections for transgender persons. Our ability to carry out its mission and core

business operations will be adversely affected by the Anti-Gender Order if we and our members

are compelled to stop promoting fair housing for the LGBTQ community—including enforcing

the Fair Housing Act in accordance with established caselaw—or lose federal funding.

Additionally, our mission will be frustrated if HUD refuses to provide any administrative forum

in which we and our members can bring complaints of discrimination that are recognized by

federal law.

        44.     Even beyond their vagueness, the breadth of the Executive Orders, confirmed by

their implementation so far, place NFHA and our members in a precarious situation. Complying

with them (if that is even possible for us) would require severely self-censoring ourselves, such as

by cancelling or limiting programs, presentations, reports, and public education efforts—and even

taking down content from our website and social media accounts—and ultimately denying critical

services to people needing our help, all of which are central to our work and mission. Moreover,

because of the inherent conflict between the Executive Orders and the Fair Housing Act and other

civil rights laws that we enforce and speak about, compliance with the Executive Orders

necessarily means presenting a distorted version of the law in our presentations. But violating

them risks serious consequences. At the least, we risk losing the funding that is crucial to our

education, outreach, and enforcement work, which is also central to our mission and core business

operations. And the Executive Orders go further and threaten even more draconian consequences,

such as liability under the False Claims Act, if we do not comply with them.




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         45.     We are aware of reports of multiple HUD grantees who have had their grants

terminated after government officials examined their websites or LinkedIn profiles and found key

words that were determined to be not in compliance with the Executive Orders because they had

references to diversity, equity, inclusion, and accessibility. See Josh Kovensky, DOGE Cites ‘DEI,’

LinkedIn       Profiles   It    Doesn’t      Like     In     Killing     Off     HUD       Contracts,

https://talkingpointsmemo.com/news/doge-cites-dei-linkedin-profiles-it-doesnt-like-in-killing-

off-hud-contracts. We have confirmed with several of these contractors that, as reported, they lost

their grants based on their statements of support for diversity, equity, inclusion, and accessibility,

which the Administration deemed to be a violation of the Executive Orders. See, e.g., Exhibit A

to Rice Declaration, Notice of Award Cancellations For All XXXX Awards (redacted). Thus, we

and other HUD grantees understand that we face a very real possibility of losing funds based on

our professed support for DEIA or related concepts, even where that speech has nothing to do with

the grants at issue.

         46.     NFHA is taking steps to avoid adverse consequences to its ability to perform

existing work and to avoid harm to the communities it serves from the Executive Orders. When

we were first confronted with the vague language of the Executive Orders and the subsequent

OMB memorandum NFHA received on January 27, 2025, we began to discuss the challenges the

Executive Orders and OMB memorandum presented to continuing our work. Though the current

administration rescinded the OMB memo, it clarified that the funding freeze remained in place for

any activities deemed to be covered by the Executive Orders.

         47.     The Executive Orders have already begun to have a chilling effect and have forced

us to divert scarce resources to try to figure out how we and our members can protect their funding

streams, consistent with accomplishing our missions. Our program staff are justifiably concerned




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about losing funding for necessary work that includes discussion of compliance with civil rights

laws; protected classes such as race, national origin, disability, and gender; and concepts such as

diversity, inclusion, equity, and accessibility, strands which as I have described above are difficult

to pull apart. Additionally, our partner organizations with smaller budgets are very reasonably

concerned that any failure—real or perceived—to follow the vague dictates of these Executive

Orders will devastate their budgets. Moreover, our members view the Executive Orders as an

attack on all of the progress fair housing organizations have made toward realizing the promise of

the Fair Housing Act and other civil rights laws in rooting out systemic discrimination within local

and federal housing practices. In the short time since the Executive Orders were signed, we and

our members have already been unable to access funding and have seen contracts canceled, forcing

us to explore whether and how programs might be shut down as well as how to secure alternative

sources of funding in case any of our and its members’ operations and funding streams will be

deemed to fall within the unclear boundaries of the Executive Orders.

        48.     The Executive Orders interfere with our and our members’ ability to carry out their

core business activities in pursuit of their mission to combat unequal access to housing

opportunities. Where you live matters; it affects access to schools, jobs, good health, a quality

education, healthy foods, a clean and safe environment—everything people need to succeed. At

NFHA, we believe that the U.S. should be a nation where all individuals have a fair shot in life

and the same opportunity to get ahead. But this is not the case for millions of people. Residential

segregation, systemic appraisal bias, the dual credit market, biased algorithms, restrictive zoning

ordinances, and many more mechanisms developed over years of unfair policies and practices still

exist today, robbing people of equal access to opportunities. Many housing opportunities, and their

related benefits, remain off limits to millions of people, and for too many Americans trying to




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achieve their goal of owning a home or achieving housing security, hard work alone is not enough.

Centuries of discriminatory housing industry and government policies have prevented Black,

Latino, Native, Asian American, Pacific Islander, people with disabilities, poor White families,

women, and members of the LGBTQ community from achieving wealth creation, economic

opportunity, housing security, and home ownership. We believe that by helping traditionally

underserved individuals, we can ignite economic opportunity in our nation that benefits everyone.

        49.     Only by speaking clearly about what has happened and continues to happen to

people in the pursuit of housing because of their race or other protected class can we make progress

toward fairer housing markets, strengthen communities, and make our society more productive.

The Executive Orders impede our ability to do so.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



 Executed: February 28, 2025
                                                                     Lisa Rice
                                                             President and CEO, NFHA




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